1844 (Rev. o4/21) CASE 2:23-Cv-03814-KM-JEGTWAGCEMOVER Stag PR yt 7/28 Page 1 of 1 PagelD: 21

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by iocal rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet.

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS

DAWN-MICHELE BLALOCK

(b) County of Residence of First Listed Plaintiff

DEFENDANTS

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attomeys (Fira Name, Address, and Telephone Number)
Andrew Frisch, Esq., Morgan & Morgan, P.A., 8151
Peters Road, 4th Floor, Plantation, Florida,

NOTE:

Attorneys ({f Known)

PARTNERS PHARMACY, L.L.C., ASCEND HEALTH LLC,

CARE ALTERNATIVES INC. and DANIEL E. STRAUS. ind.
County of Residence of First Listed Defendant

(IN U.S, PLAINTIFF CASES ONLY}

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED,

II. BASIS OF JURISDICTION (Place aa “X" in Que Bax Onty)

I. CITIZENSHIP OF PRINCIPAL PARTIES

(For Diversity Cases Only)

(Place an “X" in One Box for Plaintifj
and One Box for Defendant)

L]1 U.S. Government [x]3 Federal Question PTF DIF PIF DEF
Plaintiff (US. Government Not a Party) Citizen of This State Oo 1 C 1 Incorporated or Principal Place CD 4 (4
of Business In This State
[]2 U.S, Government C14 Diversity Citizen of Another State []2 [] 2 Incorporated and Principal Place [_]5 [5
Defendant (Indicate Citizenship of Parties in Hem HD of Business In Another State
Citizen or Subject of a C13 [] 3 Fovign Nation Cle []é
Forcign Country
IV. NATURE OF SUIT (Ptace an “¥" in One Box Only) Click here for: Nature of Suit Code Descriptions.
[2 ONTRACT! Bee SS TORT: SCF ORFELTURE/PENAETY.” I THER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY  [__]625 Drug Related Scizure 4 422 Appeal 28 USC 158 4 375 False Claims Act
120 Marine + 310 Airplane [_] 365 Personal Injury - of Properly 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability y_|690 Other 28 USC 157 3729(a))
[40 Negotiable Instrument Liability Cc] 367 Health Caref INTELLECTUA | 400 State Reapportionment
[_ ] 156 Recovery of Overpayment |] 320 Assault, Libel & Pharmaceutical ROPERTY:RIGH 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act 330 Federal Employers” Product Liability 830 Patent 450 Commerce
H 152 Recovery of Defaulted Liability [_] 348 Asbestos Personal | 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability $40 ‘Trademark Cormpt Organizations
[_] 153 Recovery of Overpayment Liability PERSONAL PROPERTY [2223 SUCABORES cI? 990 pefend Trade Secrets |_| 480 Consumer Credit
of Veteran's Benefits 350 Mater Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 168i or 1692)
[""] £60 Stockholders’ Suits 355 Motor Vehicie H 371 Truth in Lending Act | 485 Telephone Consumer
[_] 190 Other Contract Product Liability C] 380 Other Personal | 720 Labor/Management SOCIALE SECURITY: Protection Act
195 Contract Product Liability pT 360 Other Personal Property Damage Relations 861 HIA (1395fH 490 Cable/Sat TV
4 196 Franchise Injury C] 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 856 Sccurities/Commodities/
|] 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)} Exchange
Medical Malpractice Leave Act 864 SSID Title XVE |_| 890 Other Statutory Actions
Too REAL PROPEREN TCV: RIGHTS “PRISONER PETITIONS|_|790 Other Labor Litigation [| 865 RSI(405(g)) |_| 891 Agricultural Acts
|_| 210 Land Condemnation 440 Other Civil Rights Habeas Corpus: |" ]791 Employee Retirement 893 Environmental Matters
[_] 220 Foreclosure 441 Voting | 463 Alicn Detainee Income Security Act ERAL TAR: , A 895 Freedom of Information
ri Rent Lease & Ejectment x] 442 Employment _| 310 Motions to Vacate | 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations J] 530 General [|] 871 IRS—Third Party - 899 Administrative Procedure
|] 290 All Other Real Property r 445 Amer. w/Disabilities - _] 535 Death Penalty a IGRA’ 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
446 Amer. w/Disabilities -{" | 540 Mandamus & Other 465 Other Immigration _t 950 Constitutianality of
Other 550 Civil Rights Actions State Statutes
| 448 Education 555 Prison Condition
560 Civil Detainee -
Canditions of
Confinement

V. ORIGIN {Place an “X" in One Box Onty)

x]! Original 2 Removed from CI 3 Remanded from rq 4 Reinstated or [7] 5 Transferred from 6 Multidistrict Cl 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

VI. CAUSE OF ACTION

42U,S.C, 2000e at seq,, 29 U.S.C, § 626 et seq.

Cite the U.S. Civil Statute under which you are filing (Do net cite jurisdictional statutes unless diversity):

Brief description of cause:

Title VIE of the Civil Rights Act, Age Discrimination in Employment Act

VII. REQUESTED IN [] CHECK IF THIS IS A CLASS ACTION DEMAND § CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: [x]¥es [No
VHI. RELATED CASE(S)
(See instructions):
IF ANY JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
07/17/2023 fst Andrew Frisch
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

